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Attorney for Plaintiff
ANGELO L. ROSA

                              UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

  ANGELO L. ROSA, an individual residing            Case No. 1:21-cv-00084
  in the State of Arizona,

  Plaintiff,

                         v.
                                                       COMPLAINT FOR DAMAGES AND
  HYUNDAI CAPITAL AMERICA, a                               INJUNCTIVE RELIEF
  California corporation; and DOES 1-100
  inclusive,

  Defendants.



       COMES NOW Plaintiff, ANGELO L. ROSA (“Plaintiff” or “Mr. Rosa”), by and through

MARY S. AMSCHEL, ESQ. of the ROSA PLLC law firm and respectfully files his Complaint

(“Complaint”) against Defendants and alleges as follows:

                                           I.
                         THE PARTIES, JURISDICTION, AND VENUE

       1.       Mr. Rosa is an individual residing in the State of Arizona.

       2.       Hyundai Capital America is a California corporation having its principal place of

business in Irvine, California, and authorized to transact business in the State of Idaho by virtue of

its domestication as a foreign corporation with the Idaho Secretary of State.


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       3.       Defendants DOES 1 through 50, inclusive, are sued herein under fictitious names.

Their true names and identities are unknown to Plaintiff at present. When ascertained, Plaintiff

will amend this Complaint by identifying such Defendants by their true names and capacities.

       4.       The Court has both diversity and federal question jurisdiction over this matter

pursuant to 28 U.S.C. §§ 1332 and 1331.

       5.       This Court has supplemental and/or pendent jurisdiction over the Idaho state law

claims asserted herein pursuant to 28 U.S.C. § 1367.

       6.       Venue is proper in the United States District Court for the District of Idaho pursuant

to 28 U.S.C. § 1391(b)(2).

                                                 II.

                                   FACTUAL ALLEGATIONS

       5.       On or about 8 February 2013, Mr. Rosa purchased a new 2013 Hyundai Sonata (the

“Vehicle”) from Murdoch Hyundai in Murray, Utah. A true and correct copy of the Vehicle

Purchase and Loan Agreement is attached and incorporated hereto as “Exhibit 1.” The Vehicle

was financed through Hyundai Motor Finance at a promotional rate of 1.99% and the loan term

was sixty (60) months (the “Loan”). See id.

       6.       In late April 2015 the vehicle was stolen in Salt Lake County, Utah while Mr. Rosa

was away on business. The theft was reported to law enforcement and Mr. Rosa’s auto insurance

company, GEICO. A true and correct copy of the Geico Theft Questionnaire is attached and

incorporated hereto as “Exhibit 2.”

       7.       The Vehicle was located by a law enforcement agency in late May or early June

2015. Mr. Rosa was notified that the Vehicle had been located and that it had been moved to an

impound facility in Utah County, Utah for storage.




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       8.       In late June 2015, Mr. Rosa retrieved the Vehicle from the impound facility and

began driving it north on the I-15 freeway into Salt Lake City, Utah.

       9.       A few minutes after Mr. Rosa began driving the Vehicle, it became apparent that it

was damaged in some manner. There was a “knocking sound” coming from the engine

compartment under the front hood and steering the vehicle was difficult. These problems did not

exist the last time Mr. Rosa had driven the Vehicle prior to its theft.

       10.      As a precaution, Mr. Rosa exited the freeway and drove the Vehicle to a shopping

center in the Sugarhouse area of Salt Lake City that he was familiar with. The center had a large

parking lot that was rarely full.

       11.      Mr. Rosa parked the Vehicle and turned off the ignition. He then went into a store

to obtain some paper towels to protect his hands while checking the oil and power steering fluid

levels in the Vehicle.

       12.      Mr. Rosa’s inspection of the oil and power steering fluid levels did not yield any

indication of a problem with the Vehicle.

       13.      Mr. Rosa then closed the hood, turned the Vehicle on, and began to exit the parking

lot area. Within ten (10) of the engine igniting, the Vehicle began to shake violently. Further, a

series of powerful “banging” sounds began coming from the engine compartment. Within another

thirty (30) seconds, the Vehicle stopped responding to pressure from the accelerator/gas pedal.

       14.      Mr. Rosa attempted to maneuver the Vehicle into a parking spot, with only partial

success as it barely responded to steering input. The Vehicle’s engine then appeared to cease

functioning as Mr. Rosa situated the Vehicle diagonally across three empty parking spots. He then

put the Vehicle’s gear into “Park” and turned off the ignition.




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       15.     Mr. Rosa then immediately placed a call to his automobile insurance company

(GEICO) and then to the dealership from which he purchased the Vehicle (Murdock Hyundai).

He gave a full account of the facts described above and was instructed to have the vehicle towed

to the dealership for inspection.

       16.     The vehicle was towed to the dealership, Murdock Hyundai, and examined by its

Service Department.

       17.     In July 2015, Murdock Hyundai’s representatives informed Mr. Rosa that the

engine must be replaced in its entirety due to some form of unknown damage. Because the Vehicle

was still covered under its original warranty, this process would be covered by that warranty. The

engine replacement process took several weeks and resulted in a loss of value in the Vehicle.

       18.     From the date the Vehicle was purchased until the date the engine was replaced

(including during the period of time when the Vehicle was stolen), Mr. Rosa (a) made all payments

on the Vehicle Loan on time as they came due; (b) maintained uninterrupted insurance coverage

on the Vehicle; (c) had all required periodic maintenance performed at Murdock Hyundai; and (d)

maintained complete records of all the aforementioned activity.

       19.     After repairs to the Vehicle’s engine were allegedly completed, Mr. Rosa received

custody of the Vehicle back from Murdoch Hyundai and drove it to his home in Boise, Idaho.

       20.     The Vehicle’s performance immediately began performing poorly in comparison

to before it was stolen; notably, the transmission did not perform smoothly, the engine frequently

produced “knocking” sounds, and steering alignment problems were constant. Mr. Rosa

documented these problems in a series of four demand letters: one to GEICO and three to Hyundai,

respectively. A true and correct copy of the GEICO Demand Letter is attached and incorporated

hereto as “Exhibit 3.” True and correct copies of the Hyundai Demand Letters are attached and




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incorporated hereto as “Exhibit 4,” “Exhibit 5,” and “Exhibit 6.” However, Mr. Rosa was advised

by GEICO that such damage was not insured under his policy. Mr. Rosa received no response or

communication of any kind from Hyundai in response to the aforementioned Demand Letters.

        21.    Mr. Rosa elevated this issue to Hyundai’s corporate offices in the United States and

stopped making monthly payments until the matter was resolved.

        22.    Hyundai refused to resolve the matter and failed to respond to Mr. Rosa’s

correspondence.

        23.    On or about 10 December 2015, Hyundai repossessed the Vehicle and subsequently

disposed of it. The deficiency remaining on the Vehicle Loan at the time the Vehicle was

repossessed was approximately $13,051.67 according to written communication.

        24.    In or around March 2017, Mr. Rosa was contacted by a collections attorney from

Meridian, Idaho who claimed to represent Hyundai Motor Financing, Inc. as Defendant was known

at the time.

        25.    Over the course of several months, Mr. Rosa negotiated that matter of paying the

deficiency with Hyundai’s counsel. These communications included explaining the preceding

facts to the collections attorney. In order to resolve the matter without further time and expense,

Mr. Rosa entered into a Settlement and Mutual Release Agreement, which was effective as of 27

July 2017 (the “Settlement Agreement”). A true and correct copy of the Settlement Agreement is

attached and incorporated hereto as “Exhibit 7.”

        26.    The terms of the Settlement Agreement provided for installment payments to be

made by Mr. Rosa toward a compromised, discounted, balance. In return, Hyundai would forbear

on any collection actions, provide a full accounting of payments made under the settlement, and




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would make no further adverse/negative reporting of the Hyundai Loan to any credit reporting

bureau. See id.

       27.     In accordance with the Settlement Agreement, Mr. Rosa began making the

contractually required and timely payments in the manner required, initially by U.S. Mail.

However, several payments were either not received or not cashed. Mr. Rosa therefore began

sending payments by FedEx instead of the U.S. Mail. He then routinely contacted Hyundai’s

counsel to inform him that settlement checks have been dispatched, often quoting the check

numbers and the tracking numbers of the dispatch.

       28.     Notwithstanding his timely submission of payments sent through verifiable means

(i.e., FedEx), several of his checks were not processed. In addition, Hyundai would regularly

return checks to Mr. Rosa with a note stating that the checks were dated too far in the past to be

processed despite their timely submission.

       29.     While Mr. Rosa tendered timely, good faith performance under the Settlement

Agreement and went so far as to ensure verifiable transmission of the payments due thereunder,

Hyundai’s internal processing activities resulted in performance becoming frustrated. Two true

and correct copies of representative examples of timely-sent checks are attached and incorporated

hereto as “Exhibit 8,” and “Exhibit 9.”

       30.     In early 2018, Mr. Rosa relocated to Arizona and attempted to contact Hyundai for

the purpose of resolving the outstanding balance. None of his letters, dispatched by both FedEx

and facsimile were acknowledged.

       31.     During the course of this correspondence, Mr. Rosa submitted a check for the

full balance due identified on his most recent credit report (at the time of submission) m and

tendered the check with a demand letter. This transmittal was sent by FedEx and was reported




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as delivered to Hyundai. However, Hyundai never cashed the check, never responded to the letter

or acknowledged its receipt. Hyundai refused to even accept full tender of the amount due

despite numerous good faith efforts by Mr. Rosa to both (a) honor his obligation as a matter

of personal and professional responsibility, and (b) to stop the erosion of his

creditworthiness.

       32.     Between the time Mr. Rosa tendered a check for full payment of the amount

reported by Hyundai as due and late 2020, demands on his personal and professional time became

so intense that no time existed to commit to litigating the issue.

       33.     However, starting in late 2020, Hyundai began, seemingly at random, to update its

adverse reporting for the first time in over three years. The balance due reported to the three major

consumer credit reporting bureaus (Experian, Equifax, and TransUnion) increased as a result, and

no explanation existed to justify this sudden change.

       34.     Throughout the period between the repossession of the Vehicle and the date this

Complaint was filed, Mr. Rosa was declined credit on the grounds of a serious delinquency

reported to his credit reports or was extended credit at substantially higher interest rates than he

would have been offered given his payment history to other creditors. True and correct excerpts

of Mr. Rosa’s Credit Reports from the three reporting bureaus indicating Hyundai’s adverse

reporting are attached and incorporated hereto as “Exhibits 10, 11, and 12.”

       35.     Hyundai’s adverse reporting was contractually prohibited under the Settlement

Agreement. However, Hyundai made performance impossible by its refusal to accept Mr. Rosa’s

timely submitted and received checks, rejecting/returning those checks, and even refusing a full

tender of payment allegedly due as reported by Hyundai to the aforementioned credit bureaus.




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       36.     In a final effort to resolve the matter described above, Mr. Rosa dispatched a

prelitigation demand to Hyundai, proposing a set of terms for resolution and advising that litigation

would follow if the matter was not resolved. This letter included an offer of further tender beyond

the checks that have been submitted to Hyundai as of the date this final demand letter was

transmitted. A true and correct copy of the Prelitigation Demand Letter is attached and

incorporated hereto as “Exhibit 13.”

       37.     Mr. Rosa has, once again, received no response from Hyundai to his prelitigation

demand.

       38.     During the aforementioned period of time, Mr. Rosa made occasional telephone

calls to Hyundai for the sake of attempting to ascertain the nature of the problem but could not

receive an answer or even an acknowledgement of receipt of payments tendered and received by

Hyundai.

       39.     Mr. Rosa’s creditworthiness is near flawless with the exception of the Hyundai

reporting. His credit monitoring services report a one-hundred percent (100%) on-time payment

history. The only delinquent payments in Mr. Rosa’s distant past relate to delays in receipt of

payment by other creditors, but have not affected his creditworthiness.

       40.     The present Complaint is being filed as an act of final recourse given that Hyundai’s

business practices leave him no option but to invoke the dispute resolution provisions under the

Settlement Agreement.

       41.     Further, Hyundai’s acts and omissions, as alleged above, constitute violations of

the Federal Trade Commissions Act, set forth at 15 U.S.C. § 41 et seq. (“FTCA”), Mr. Rosa

intends to forward this Complaint and proof of each claim to the Federal Trade Commission




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("FTC") for investigation and pursuit of those remedies available in matters that only the FTC may

initiate and pursue.

                                               III.

                                 FIRST CAUSE OF ACTION

                                       Breach of Contract

       42.     Mr. Rosa restates and realleges the preceding paragraphs as though fully set forth

herein and further alleges:

       43.     A valid, enforceable contract existed between Mr. Rosa and Hyundai in the form

of a fully executed Settlement Agreement.

       44.     Mr. Rosa performed his obligations under the Settlement Agreement by tendering

timely payment to Hyundai in accordance with the terms of that agreement. Mr. Rosa further

performed his obligations under the Settlement Agreement by tendering full payment of an amount

in excess of the compromised amount due under the early repayment provisions of the agreement.

       45.     Hyundai breached the Settlement Agreement by (a) refusing to accept several of

Mr. Rosa’s payment, including both those payments that were returned, and (b) by continuing to

make adverse reporting to the aforementioned credit bureaus.

       46.     Further, Hyundai frustrated Mr. Rosa’s performance under the Settlement

Agreement by (a) rejecting the aforementioned payments and (b) refusing even to accept a full

tender of the amount reported by Hyundai to the aforementioned credit bureaus.

       47.     As a result, Hyundai has rendered performance under the Settlement Agreement

impossible.

       48.     These breaches caused damages to Mr. Rosa including, inter alia, the following:

(a) damage to Mr. Rosa’s creditworthiness; (b) increased cost of credit that Mr. Rosa has been able




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to obtain; and (c) extensive loss of revenue as a result of nearly one-hundred hours of time and

effort spent attempting to resolve the aforementioned problems, researching the legal issues

attendant to the problems giving rise to this action; (d) legal fees and costs incurred as a

consequence of filing the present action; and (e) other damages, in amounts subject to proof but

exceeding $75,000.00.

                                                IV.

                                SECOND CAUSE OF ACTION

                                        Slander of Credit

       49.     Mr. Rosa restates and realleges the preceding paragraphs as though fully set forth

herein and further alleges:

       50.     Hyundai made statements to persons other than Mr. Rosa, namely, to the credit

reporting agencies known as Equifax, Experian, and TransUnion.

       51.     Hyundai’s statements were intentional misrepresentations of fact to the effect that

Mr. Rosa was delinquent in making payments under the Settlement Agreement.

       52.     Mr. Rosa repeatedly submitted disputes of Hyundai’s reporting to the

aforementioned credit reporting agencies. All of these disputes were resolved in the same way:

with Hyundai misrepresenting the status of Mr. Rosa’s account, the amount due, and complete

omission of both partial and full tender of payment of the amount alleged by Hyundai to be due

and reported as such to said credit reporting agencies.

       53.     Hyundai knew the statements were false, or reasonably should have known they

were false because (a) Mr. Rosa made timely payments under the Settlement Agreement in

accordance with the terms of submission set forth in that agreement; (b) Mr. Rosa tendered full




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payment of payment of the amount alleged by Hyundai to be due and reported as such to said

credit reporting agencies; and (c) Hyundai nevertheless continued to report the obligation as due.

       54.     The information communicated in Hyundai’s statements impugned the

creditworthiness, honesty, integrity, and virtue of Mr. Rosa as both a private citizen, a

businessman, and an attorney licensed to practice law in both Idaho and California. Upon

information and belief, the damage to Mr. Rosa’s credit scores (which will be corroborated by

expert testimony in this matter) amounts to a loss of approximately one-hundred (100) points: a

difference that would render Mr. Rosa’s true and correct creditworthiness as “excellent” instead

of “good.”

       55.     Mr. Rosa suffered actual injury from the statements by having been denied credit

for consumer purchases in an amount subject to proof and by ongoing injury to his credit scores.

Further, Mr. Rosa is entitled to a retraction of all adverse reporting made by Hyundai to all credit

reporting agencies, including (without limitation) the aforementioned credit reporting agencies

known as Equifax, Experian, and TransUnion.

       56.     Due to the reckless, wanton and gross negligence associated with Hyundai’s

conduct as alleged herein, Mr. Rosa requests an award of punitive damages to deter, dissuade and

otherwise punish Hyundai for its dishonest conduct and misrepresentations of fact to the

aforementioned credit reporting bureaus.

                                                V.

                                 THIRD CAUSE OF ACTION

                                       Declaratory Relief

(Partial and Complete Discharge under Uniform Commercial Code § 3-603 [Idaho Code §

                                            28-3-603])




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         57.   Mr. Rosa restates and realleges the preceding paragraphs as though fully set forth

herein and further alleges:

         58.   Mr. Rosa tendered the checks attached as Exhibits to this Complaint, which were

returned by Hyundai for reasons not connected with his timely submission of the same as required

by the Settlement Agreement.

         59.   Mr. Rosa also tendered full payment in excess of the amount due under the

Settlement Agreement with one of the demand letters submitted to Hyundai and delivered by

FedEx.

         60.   Hyundai refused to accept the partial tenders of installment payments due under the

Settlement Agreement.

         61.   Hyundai further refused to accept full tender of the installment payment due under

the Settlement Agreement.

         62.   By operation of Uniform Commercial Code § 3-603, as adopted by the State of

Idaho and codified at Idaho Code § 28-3-603, Mr. Rosa is entitled to discharge of the entire balance

due both under the Settlement Agreement and as reported by Hyundai.

         63.   A substantial controversy of sufficient immediacy has arisen between Mr. Rosa and

Hyundai regarding the tender of the full balance due to Hyundai under the Settlement Agreement,

as Mr. Rosa continues to be denied credit due the Hyundai’s refusal to accept tender.

         64.   Mr. Rosa seeks a declaratory judgment that the balance due under the Settlement

Agreement is both partially and completely discharged and that Hyundai is obligated to correct all

historical and ongoing reporting to all relevant credit reporting agencies accordingly.

                                                VI.

                                FOURTH CAUSE OF ACTION




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                                         Injunctive Relief

                              [Temporary, Preliminary and Permanent]

       65.     Mr. Rosa restates and realleges the preceding paragraphs as though fully set forth

herein and further alleges:

       66.     Mr. Rosa will suffer irreparable injury in the absence of a preliminary injunction

due to adverse reporting on his credit report rendering him unable to obtain favorable interest rates

on business loans, mortgages, lines of credit and consumer credit products.

       67.     Mr. Rosa is likely to succeed on the merits of his claims. As a moderately

successful attorney with a national clientele, who specializes in business transactions and

commercial litigation, Mr. Rosa has maintained meticulous records supporting the facts alleged

herein and anticipates filing a motion for summary judgment at soon as permitted by the Federal

Rules of Civil Procedure and the Local Rules of this District.

       68.     The balance of hardships tips in Mr. Rosa’s favor. Hyundai Capital America is a

multi-billion Dollar subsidiary of a major international corporation. Mr. Rosa, in comparison is

an individual who relies on his creditworthiness to transact personal and professional business,

and whose creditworthiness is an indication of personal honesty in his chosen profession. The

higher interest rates that Mr. Rosa has been forced to pay in order to transact certain matters has

resulted in ongoing and future payments with a differential, on the basis of information and belief

as calculated by rates available to persons with credit scores higher than his and all other income

and debt-to-income ratios being equal) will result in his payment at least one-hundred thousand

Dollars ($100,000.00) over the terms of such loans.

       69.     Unless enjoined from both retroactively correcting its material misrepresentations

and slander of Mr. Rosa’s credit and permanently ceasing its ongoing false reporting of Mr. Rosa’s




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alleged liability, Hyundai will continue to inflict the aforementioned injury upon Mr. Rosa. This

injury, both inflicted to date and continuing as of the date this Complaint is filed, constitutes

irreparable injury. Such injury is demonstrated by Hyundai’s documented acceptance of payments

and rejection/refusal to accept such tender, and its refusal to acknowledge or respond to any

communications by Mr. Rosa.

       70.     The public interest favors the injunction because it will deter Hyundai from similar

wrongs in the future and protect untold numbers of consumers from experiencing the same issues

as Mr. Rosa.

                                                 VII.

                                ATTORNEY FEES AND COSTS

       71.     In addition to all specific prayers for entitlement to awards of costs of suit, including

attorneys’ fees, Plaintiff is entitled to an award of its reasonable attorneys’ fees, costs, and

disbursements incurred in this matter as against Defendant pursuant to all applicable provisions of

the Idaho Code including, without limitation, the “prevailing party or parties” provisions of Idaho

Code § 12-121; and (b) all other applicable contractual and statutory entitlements.

                                                VIII.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief as follows:

       1.      For entry of a preliminary and permanent injunction compelling and/or prohibiting

Defendant as specified herein (see supra) and as may be requested by any applications/motions

presented to the Court during the pendency of this action.

       2.      For entry of a declaratory judgment against Defendants in Plaintiff’s favor.

       3.      For an award of damages in an amount subject to proof.




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       4.      For an award of Plaintiff’s attorneys’ fees, costs and disbursements incurred in this

action under all applicable provisions of the Idaho Code, including (without limitation) Idaho Code

§§ 12-120 and 12-121; and

       5. For such other and further relief as the Court may deem just and proper.



       DATED: February 18, 2021                              Respectfully Submitted,

                                                             For ROSA PLLC



                                                             /s/ Mary S. Amschel
                                                             Mary S. Amschel
                                                             Attorney for Plaintiff




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                            ___________________________________________
                                        GEICO General Insurance Company
                                  ___________________________________________


  Attn: Region IV Claims, PO Box 509119
  San Diego, CA 92150-9914




                                                                                       4/26/2015




  Angelo Rosa

  Boise, ID 83701-1605




  Company Name:               Geico General Insurance Company
  Claim Number:               033194405-0101-111
  Loss Date:                  Saturday, April 25, 2015
  Policyholder:               Angelo Rosa


  Dear Angelo Rosa,

  I am sorry to hear about your recent loss. I will be the adjuster handling the investigation of
  your claim. Enclosed you will find a questionnaire. If you have a police report, please send a
  copy along with the completed questionnaire.

  THIS QUESTIONNAIRE NEEDS TO BE COMPLETED AND RETURNED BEFORE WE
  CAN CONTINUE PROCESSING YOUR CLAIM.

  We ask that you provide documentation of the mileage on the vehicle. Any receipts from
  recent work done to the vehicle or recent oil change receipts will suffice.

  It is very important that you complete the questionnaire and return it to me within five (5)
  days of receipt. Upon receipt of the completed questionnaire, we will be able to process your
  claim. If you have any questions, please feel free to contact me at the number listed below.

  Sincerely,


  Leopoldo Valenzuela, Examiner Code D4T9
  1-866-729-5201 x2524
  Claims Department


  Encl:     SHC116ID, Return Envelope



EC0122 (07/2014)
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                 GEICO General Insurance Company
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                                                          Claim Number 033194405-0101-111
                    Vehicle Theft Questionnaire                                   Policy Number        4244694529
           (Please complete even if vehicle is recovered)                         Date of Loss         April 25, 2015
    Name of Insured/Owner: __________________________________________ Date of Birth:
    Residence Address:                                     _________________________________________________
                            Street                                      City                      State   Zip Code
    Telephone Number: Home: (______)801       440-4400
                                             ___________________                   801 _______________________
                                                                      Business: (______)     440-4400
                                                                        0.5
    How long have you been living at the above residence? _________________years
P
    Previous Residence Address: _                                   __________________________________________
O
L                                   Street                                     City               State    Zip Code
I                       MARSH ROSA LLP
    Employer Name: _____________________________________________________________________________
C                       P.O. Box 1605                             Boise,                         Idaho
             Address: _____________________________________________________________________________          83701
Y
                       Street                                      City                           State    Zip Code
H
O   Occupation/Position: _______________________________________________ Length of Service: ___________
L   Social Security #: _                    _ Driver's License #:               ______________________ State:_____
D   Marital Status:       Single        Married        Divorced          Separated        Widow
E
    Spouse's Name: ___________________________________________ Date of Birth: ______/_______/_______
R
       Address: (If different from residence address) ____________________________________________________
A                                                      Street                        City          State   Zip Code
N      Telephone Number: Home: (_____)______________________ Business: (_____)_____________________
D
        Employer: _______________________________________________________________________________
        Address: ________________________________________________________________________________
O                Street                                         City                              State   Zip Code
W       Occupation: ______________________________________________________________________________
N
        Social Security #: ______-____-_______ Driver's License #: _____________________________ State:_____
E
R       Others Residing in Household:
                         NAME/RELATION                         SEX          DATE OF BIRTH               DRIVER’S LICENSE NUMBER
I
N
F
O
R
M
A
T       Other Vehicles Located at Residence Address:
I         YEAR                    MAKE                            MODEL               PLATE NO.           INSURANCE COMPANY
O        2010                 Audi                                TTS                                   GEICO
N




    Vehicle Identification Number (VIN):                 5     N P      E C      4     A C 4           D H 6     2      4    1    0   1
V           Idaho
    State: __________                         1A8808D
                      License Plate Number: ____________________________            45,000
                                                                          Mileage ____________
E
H          2013 Make: __________
    Year: _____         Hyundai Model: ___________Color:
                                            Sontana       Black
                                                          _________                    Premium
                                                                    Special Packages: ___________
I   Please check any vehicle options that apply:
C   Transmission                     Power                              Radio                               Seating
L      Overdrive
E                                       Power Steering                    AM/FM Stereo Radio                   Cloth Seats
       4 Wheel Drive                    Power Brakes                      CD Player                            Leather Seats
I      Positraction
N                                       Power Windows                     CD Changer/Stacker                   Reclining/Lounge Seats
F   Transmission Type                   Power Locks                       Premium Radio                        Bucket Seats
O      Automatic Transmission           Power Driver Seat                 Satellite Radio                      Heated Seats
       6 Speed Transmission             Power Passenger Seat              Steering Wheel Touch Controls        Rear Heated Seats
       5 Speed Transmission             Power Antenna                     Auxiliary Audio Connection           3rd Row Seat
       4 Speed Transmission             Power Mirrors                     Equalizer                            Power Third Seat
       3 Speed Transmission             Power Trunk/Gate Release
                                        Power Adjustable Pedals



C116ID (03-14) NS                                                  1
                     Case 1:21-cv-00084-BLW Document 1 Filed 02/19/21 Page 32 of 78
      Decor/Convenience              Roof                         Safety/Brakes                                       Wheels
        Air Conditioning               Electric Glass Roof         Driver’s Side Air Bag       Auto Level               Aluminum/Alloy
                                                                                                                        Wheels
        Climate Control                Electric Steel Roof         Passenger Air Bag           Exterior/Paint/glass
                                                                                                                         Chrome Wheels
        Rear Defogger                  Skyview Roof                Front Side Impact Air       Luggage/Roof Rack
                                                                   Bags                                                  20" Or Larger Wheels
        Tilt Wheel                     Dual Power Sunroof                                      Exterior Woodgrain
                                                                   Rear Side Impact Air                                  Deluxe Wheel Covers
        Telescopic Wheel               Manual Steel Roof           Bags                        Rear Window Wiper
                                                                                                                         Full Wheel Covers
        Cruise Control                 Manual Glass Roof           Head/Curtain Air Bags       Two Tone Paint
                                                                                                                         Spoke Aluminum
        Keyless Entry                  Flip Roof                   Alarm                       Three Stage Paint         Wheels

        Console/Storage                T-top/Panel                 Night Vision                Clearcoat Paint           Styled Steel Wheels

        Overhead Console               Glass T-tops/Panel          Intelligent Cruise          Metallic Paint            Wire Wheels

        Entertainment Center           Power Convertible Top       Parking Sensors             Rear Spoiler              Wire Wheel Covers

        Navigation System              Detachable Roof             Parking Sensors             Fog Lamps                 Rally Wheels
                                                                   W/Equip
        Communications System          Vinyl Covered Rood                                      Tinted Glass              Locking Wheels
                                                                   Anti-lock Brakes (4)
        Heads Up Display               Cabriolet Roof                                          Privacy Glass              Locking Wheel Covers
                                                                   Anti-lock Brakes (2)                               Additional Items not
        Wood Interior Trim             Landau Roof                                             Body Side Moldings     listed:
                                                                   4-wheel Disc Brakes
        Electronic Instrumentation     Padded Landau Roof                                      Dual Mirrors
                                                                   Roll Bar
        On Board Computer              Padded Vinyl Roof                                       Heated Mirrors
                                                                   Traction Control
        Message Center                                                                         Headlamp Washers
                                                                   Stability Control
        Memory Package                                                                         Signal Integrated
                                                                                               Mirror
        Remote Starter
      Please list any customizations or modifications to the vehicle. This should include any non-factory installed items:
C
      Customization (Please include brand name and model information)                         Date Installed          Value
U
S
T
O
M



                                  2       14
      Purchase/Lease Date: ______/______/______   2013       NEW          USED                            36,553
                                                                                        Purchase Price: $__________
                        Murdock Hyundai
      Seller's Name: ______________________________________                                     801 262        6401
                                                                          Telephone Number: (_____)______-________
S                       4646 South State Street
            Address: _______________________________________________________________________________
A           Trade In?         NO                                   27,182.17
                                         YES Value of Trade In: $___________________________
L     Lienholder/Leasing Co. Name: ___________________________________________________________________
                                        Hyundai Motor Finance
E
S
                        P.O. Box 105299                                Atlanta,                Georgia
            Address: _______________________________________________________________________________           30348
                      Street                                            City                       State        Zip Code
D                                   800 523         4030
            Telephone Number: (_____)_______-_______________
A                               25536212
            Account Number: _______________________________                                N/A
                                                                        Down Payment: _________________________
T                               571.11                                         03/24/2015
            Last Payment: $_________________________________            Date: __________________________________
A
            Has vehicle ever been repossessed?                      NO          YES
            Is the vehicle currently under a repossession order?    NO          YES
            Are payments up to date?            YES      NO      Lienholder notified of THEFT?       YES       NO
      Do you have any other outstanding loans on this vehicle or its equipment?       NO     YES
                If yes, with whom? __________________________ Amount? $_______
      Owner(s) as shown on title: _________________________________________________________________
                                Bronco Motors-Hyundai
      Name of Service Station: _____________________________                      208     376-8510
                                                              Telephone Number: (______)______-____
S
E                                  9250 W Fairview Ave,             Boise,         Idaho    83704
      Address of Service Station: _____________________________________________________________
R                                                        Street                              City                            State      Zip Code
V                             03           10      2015 Work Performed: __________________________
      Date of Last Service: _________/________/_______                           Oil change/duplicate key
I     List any work performed since purchase other than tune-up, oil, grease: __________________________
C
E     ___________________________________________________________________________________
      When & Where Repaired: ______________________________________________________________
    C116ID (03-14) NS
                                                                           2
               Case 1:21-cv-00084-BLW Document 1 Filed 02/19/21 Page 33 of 78
    Has vehicle been involved in any losses since its purchase?  NO        YES
P
    Date of Loss: _________/_________/_________ Location: ___________________________________________
R
I   Type of Loss: ________________________________________________________________________________
O   Damages/Area: _______________________________________________________________________________
R   Amount: $____________________________________ Repairs Completed?        NO      YES
    Insurance Company: ___________________________________________________________________________
D
A   Repair Shop Name: _______________________________ Telephone Number: (______)_________-_________
M        Address: ________________________________________________________________________________
A                    Street                                    City                         State       Zip Code
G   Was there any unrepaired body or mechanical damage on the vehicle prior to the theft? NO  YES
E
    If "YES" list damages: __________________________________________________________________________
                                                          Unknown. Vehicle was parked and locked
    Who had custody of vehicle at the time of the theft? ___________________________________________________
T                             3110 S. 900 W., South Salt Lake, Utah 84119
    Exact location of theft: __________________________________________________________________________
H
E                              Car left for parking while I was traveling out of state by air for business.
    Reason car at location: _________________________________________________________________________
F   Date and time vehicle last seen before theft: ________/_________/_________
                                                      3          20       2015            1:00 p.m. A.M. P.M.
                                                                                        ____________
T                                                     4           25
    Date and time vehicle discovered missing: _________/_________/_________
                                                                          2015             4:00 p.m. A.M. P.M.
                                                                                        ____________
    How many keys were you provided at the time you purchased the vehicle? __________________________
I
N   Did you have any additional keys made for this vehicle?        NO      YES                           1
                                                                                    If yes, how many?_______
F   Are there any keys missing?         NO      YES When did you notice these keys missing?_____________________
O   Were there any keys in or upon the vehicle at the time of the theft?   NO    YES Where?___________________
    Does the vehicle have either a factory or aftermarket remote starter?     NO     YES
    Was the vehicle locked?       NO       YES Alarm in use?         NO    YES      N/A
    Was vehicle parked in a tow away zone?           NO       YES If Yes, did police tow it?     NO      YES
    Are there any outstanding parking tickets?       NO        YES
    Briefly describe any vehicle usage 24 hours prior to theft, up to and including a description of the
L
O   loss:
S                   N/A
S

I
N
F
O




                          Angelo L. Rosa
    Who notified police? ___________________________________________________________________________
G
               South Salt Lake, Utah
    Precinct: _____________________________________             Agency/Department: __________________________
E                   15G002659
    Case Number: _________________                   Lundquist
                                           Officer: ___________________________     Badge Number: ____________
N                                  4      25      2015 Time: _______
    Date and time theft reported: ______/______/_____          7:32        A.M.    P.M.   By Phone    In Person
E
R   ARE YOU RENTING A CAR DUE TO THE THEFT?             NO       YES   If "YES", please provide:
A
L
    Rental Co.: __________________________________ Telephone Number: (______)__________-__________
I   WAS THE STOLEN VEHICLE LOANED OR BORROWED?             NO    YES
N   If "YES", complete this section:
F   Name: __________________________________________ Telephone Number: (_______)_______-_________
O
R   Address: ____________________________________________________________________________________
M              Street                                   City                 State          Zip Code
A
T   Relationship: _____________ Purpose: _________________ Does borrower own a vehicle?     YES      NO
I
O
    WAS VEHICLE PARKED IN PUBLIC GARAGE OR PARKING LOT?               NO YES If "YES", complete this
N   section.
    Name of parking lot/garage: _____________________________________________________________________
    Address: ____________________________________________________________________________________
    Insurance Company of garage:___________________________________________________________________
    Who parked the car? __________________________________
    Who was given possession of keys – Attendant: _____________________________________________________




C116ID (03-14) NS                                        3
                 Case 1:21-cv-00084-BLW Document 1 Filed 02/19/21 Page 34 of 78
     Have you or any member of your family ever had a vehicle stolen?              NO      YES
     If yes, Date: ________/_______/______ Location: _______________ Insurance Company: _______________
     If recovered, its condition: _______________________________________________________________________
     Do you have any other Theft Insurance on stolen vehicle?             NO      YES ______________________________
     Is the vehicle that is reported stolen legally registered and titled at the Department of Motor Vehicles that issued the
     title and plates?        NO       YES
                                                            Unknown
     Name and contact information of suspected thief:___________________________________________________

 R
 E
     RECOVERY
 C
 O   Date: _______/_______/_______ Time:          A.M.     P.M. Place:______________________________________
 V   Recovery Reported to GEICO?          NO     YES Date: _________/_________/_________
 E   Is vehicle drivable?     YES        NO Who recovered the vehicle? ______________________________________
 R
     Arrests made?        NO     YES Name and Address: ________________________________________________
 Y
     Damage due to theft?       NO     YES Describe: ___________________________________________________
 D   Was vehicle viewed by policyholder?      NO    YES Where: __________________________________________
 A   Vehicle located at the present time:________________________________________________________________
 T
                                         Telephone Number: (_______)____________-____________
 A
 P   IF THERE WERE ANY PERSONAL ITEMS IN YOUR VEHICLE THAT REMAIN UNRECOVERED AND YOUR
 E
     POLICY PROVIDES COVERAGE FOR PERSONAL EFFECTS, PLEASE COMPLETE THIS SECTION:
 R
 S   Please list items separately in the spaces provided below:                                  Value of each item:
 O
 N
 A   Client documents in litigation briefcase, locked in trunk of vehicle.                        N/A
 L
      Misc. electronic chargers                                                                    $50.00
 E
 F   Spare change                                                                                  $10.00
 F
 E
 C
 T
 S

                                             TOTAL VALUE OF UNRECOVERED ITEMS (LIMIT OF $200):
                                                                                                  $60.00
     NOTE: LOSS TO ANY TAPE, WIRE, RECORD DISC OR OTHER MEDIUM FOR USE WITH A DEVICE DESIGNED FOR THE RECORDING
     AND/OR REPRODUCTION OF SOUND IS NOT COVERED. OTHER EXCLUSIONS MAY APPLY. PLEASE REFER TO YOUR CONTRACT.

If the identity of the person or persons responsible for the theft of this vehicle is established, are you willing to
prosecute that person or persons?          YES     NO
I swear that the information contained in the prior four
(4) pages are true and correct to the best of my knowledge.

        Angelo L. Rosa
Name: _______________________________________

Address:                                      ____________

Signature: ____________________________________

        28 April 2015
Date: ________________________________________

For your protection, Idaho law requires the following to appear on this form:
Any person who knowingly, and with intent to defraud or deceive any insurance
company, files a statement of claim containing any false, incomplete, or misleading
information is guilty of a felony.




 C116ID (03-14) NS                                                4
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   COMPLAINT FOR DAMAGES
    AND INJUNCTIVE RELIEF
           EXHIBIT 3
        Case 1:21-cv-00084-BLW Document 1 Filed 02/19/21 Page 36 of 78

                              Kiiha Law Office, PLLC
                                  Jay Juhani Kiiha, J.D., LLM.
                       (Licensed to Practice in Idaho and Washington)
                                        P.O. Box 640
                                     Donnelly, ID 83615

                                        jay@kiiha.com
                                        208.340.4464



                                         3 August 2015


Leopoldo Valenzuela
GEICO Insurance Company
930 North Finance Center Drive
Tucson, Arizona 85710

       Re:    Claim No. 033194405010111
              Sent via e-Mail to lvalenzuela@geico.com, Letter to follow by US Mail


Dear Mr. Valenzuela:

This is to serve as Mr. Angelo Rosa's final demand for resolution by GEICO of the outstanding
claim referenced above.

Despite numerous attempts by Mr. Rosa and the dealership overseeing repairs of the vehicle in
question (Murdock Hyundai in Murray, Utah), the following issues have gone unresolved:

       1. Cosmetic and windscreen damage to the vehicle, estimated to cost approximately
       $3,400 as evidenced by the attached quote provided to Mr. Rosa by the dealership.

       2. The substantial diminution of value to Mr. Rosa's vehicle affected by (a) the theft of
       his vehicle for four weeks and (b) the replacement of the vehicle is approximately
       $25,000 based upon the Kelly Blue Book value of the pre-theft value and a diminution of
       value. This is a category of damages recoverable under Idaho law. See e.g., Boel v.
       Stewart Title Guaranty Co., 43 P.3d 768 (Idaho 2002).

       3. GEICO's refusal to consider the potential for hazardous and/or illegal activities that
       may have been conducted inside the vehicle during the period when the vehicle was
       stolen.

       4. Mr. Rosa's loss of use of the vehicle has substantially impair his law and business
       consulting practice, which has resulted in loss of income that is substantial.

Given the aforementioned factors, GEICO has failed to honor the insurance contract between
your company and Mr. Rosa as your insured has suffered (and stands to suffer) are as follows:
         Case 1:21-cv-00084-BLW Document 1 Filed 02/19/21 Page 37 of 78




       1.      $3,400         representing necessary repairs;

       2.      $3,700         representing loss of value;

       3.      $2,284         in payments made to Hyundai Motor Finance during the loss of use
       of the vehicle; and

       4.      $15,000        in lost revenue associated from lost use

At this point, GEICO has two options:

       1. GEICO can make an equalizing payment to compensate Mr. Rosa as calculated
       above as $24,384.

       2. GEICO can declare the vehicle a total loss and make arrangements with Mr. Rosa's
       AutoGAP policy to resolve any deficit between the total loss payment due to Hyundai
       Motor Finance (the lienholder) and the value of the vehicle, as diminished.

       3. GEICO can litigate these matters at both the administrative level with the Idaho
       Department of Insurance and in a court of appropriate jurisdiction.

Your organization has until 5:00 p.m. on Friday, August 7, 2015 to tender its acceptance of one
of the aforementioned three options. If no acceptance is tendered by that time, litigation will be
promptly initiated on Mr. Rosa's behalf against GEICO.

Your immediate response is both anticipated and appreciated.


                                      Very truly yours,

                                      KIIHA LAW OFFICE, PLLC




                                      Jay Juhani Kiiha, J.D., LL.M.
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   COMPLAINT FOR DAMAGES
    AND INJUNCTIVE RELIEF
           EXHIBIT 4
         Case 1:21-cv-00084-BLW Document 1 Filed 02/19/21 Page 39 of 78

                                          M ARSH R OSA LLP
                                    Legal Counsel & Business Advising


                                            Angelo L. Rosa, Esq.
                                [Licensed to practice law in California and Idaho]
P.O. Box 1605                                                                                 Tel +1 (801) 440-4400
Boise, Idaho 83701                                                                            Fax +1 (801) 415-1773
United States                                                                        e-Mail: arosa@marshrosa.com

                                               26 August 2015

 Collections Department
 HYUNDAI MOTOR FINANCE
 P.O. Box 20809
 Fountain Valley, California 92728-0809

Letter Sent via U.S. Mail and Facsimile

        Re:       HMF Account No. 20130205619880


To Whom it May Concern:

This firm represents the loan account holder of the above-referenced Hyundai Motor Finance
(“HMF”) account. In that capacity, we are in receipt of a Notice of Default.

The loan account holder wishes to re-negotiate the terms of the loan in question. The account
holder continues to deal with financial difficulties HMF was put on notice of several months ago.
The vehicle was stolen in May 2015, recovered in late June/early July 2015, and has since had its
engine replaced in connection with the theft. The value of the vehicle is substantially lower than
the loan amount, both as a result of decrease in market value and diminution of value resulting
from the theft. Moreover, the account holder has no attachable assets or non-exempt property
available to satisfy any deficiency judgment should HMF exercise its right to repossess the vehicle
and foreclose on the loan.

Accordingly, the account holder proposes the following terms:

    1. The principal amount of the loan will be reduced to $12,000.00.

    2. The repayment of the loan principal will be reamortized over the remainder of the loan
       term, which is 43 months.

    3. The interest rate of the loan will remain the same, which is 2.99%.

    4. The monthly payment of the loan will be adjusted in light of the aforementioned variables
       to $294.63 per month.


              Boise | Denver | Newport Beach | San Francisco | Geneva | Hong Kong | London | Paris
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M A R S H R O S A LL P
Collections Department
HMF Account No. 20130205619880
26 August 2015
Page 2 of 2



   5. The account holder and HMF will execute a revision to the promissory note to reflect the
      aforementioned terms.

Please communicate your acceptance of these terms in writing no later than Friday, 4 September
2015.


                                    Yours Very Truly,

                                    MARSH ROSA LLP




                                    Angelo L. Rosa, Esq.

ALR/ar
cc:    File
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   COMPLAINT FOR DAMAGES
    AND INJUNCTIVE RELIEF
           EXHIBIT 5
           Case 1:21-cv-00084-BLW Document 1 Filed 02/19/21 Page 42 of 78

                                           M ARSH R OSA LLP
                                     Legal Counsel & Business Advising


                                             Angelo L. Rosa, Esq.
                                 [Licensed to practice law in California and Idaho]
P.O. Box 1605                                                                                  Tel +1 (801) 440-4400
Boise, Idaho 83701                                                                             Fax +1 (801) 415-1773
United States                                                                         e-Mail: arosa@marshrosa.com

                                                3 October 2015

 Collections Department
 HYUNDAI MOTOR FINANCE
 P.O. Box 20809
 Fountain Valley, California 92728-0809

 Letter Sent via U.S. Mail and Facsimile

         Re:         HMF Account No. 20130205619880
                     SECOND LETTER


 To Whom it May Concern:

 This firm represents the loan account holder of the above-referenced Hyundai Motor Finance
 (“HMF”) account. In that capacity, we are in receipt of a Notice of Default.

 The loan account holder wishes to re-negotiate the terms of the loan in question. The account
 holder continues to deal with financial difficulties HMF was put on notice of several months
 ago. The vehicle was stolen in May 2015, recovered in late June/early July 2015, and has since
 had its engine replaced in connection with the theft. The value of the vehicle is substantially
 lower than the loan amount, both as a result of decrease in market value and diminution of
 value resulting from the theft. Moreover, the account holder has no attachable assets or non-
 exempt property available to satisfy any deficiency judgment should HMF exercise its right to
 repossess the vehicle and foreclose on the loan.

 Accordingly, the account holder proposes the following terms:

     1. The principal amount of the loan will be reduced to $12,000.00.

     2. The repayment of the loan principal will be reamortized over the remainder of the loan
        term, which is 43 months.

     3. The interest rate of the loan will remain the same, which is 2.99%.




               Boise | Denver | Newport Beach | San Francisco | Geneva | Hong Kong | London | Paris
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M A R S H R O S A LL P
Collections Department
HMF Account No. 20130205619880
3 October 2015
Page 2 of 2

   4. The monthly payment of the loan will be adjusted in light of the aforementioned
      variables to $294.63 per month.

   5. The account holder and HMF will execute a revision to the promissory note to reflect
      the aforementioned terms.

Please communicate your acceptance of these terms in writing no later than Friday, 4
September 2015.


                                  Yours Very Truly,

                                  MARSH ROSA LLP




                                  Angelo L. Rosa, Esq.

ALR/ar
cc:    File
Case 1:21-cv-00084-BLW Document 1 Filed 02/19/21 Page 44 of 78




   COMPLAINT FOR DAMAGES
    AND INJUNCTIVE RELIEF
           EXHIBIT 6
           Case 1:21-cv-00084-BLW Document 1 Filed 02/19/21 Page 45 of 78

                                           M ARSH R OSA LLP
                                     Legal Counsel & Business Advising


                                             Angelo L. Rosa, Esq.
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P.O. Box 1605                                                                                  Tel +1 (801) 440‐4400
Boise, Idaho 83701                                                                             Fax +1 (801) 415‐1773
United States                                                                         e‐Mail: arosa@marshrosa.com

                                              18 November 2015

 Legal Department
 HYUNDAI MOTOR FINANCE
 P.O. Box 20809
 Fountain Valley, California 92728‐0809

 Letter Sent via Facsimile

         Re:         HMF Account No. 20130205619880
                     THIRD LETTER


 To Whom it May Concern:

 This firm represents the loan account holder of the above‐referenced Hyundai Motor Finance
 (“HMF”) account. In that capacity, we are in receipt of a Notice of Default and Notice of Intent
 to Sell Property.

 The loan account holder wishes to re‐negotiate the terms of the loan in question. The account
 holder continues to deal with financial difficulties HMF was put on notice of several months
 ago. The vehicle was stolen in May 2015, recovered in late June/early July 2015, and has since
 had its engine replaced in connection with the theft. The value of the vehicle is substantially
 lower than the loan amount, both as a result of decrease in market value and diminution of
 value resulting from the theft. Moreover, the account holder has no attachable assets or non‐
 exempt property available to satisfy any deficiency judgment should HMF exercise its right to
 repossess the vehicle and foreclose on the loan.

 Accordingly, the account holder proposes the following terms:

     1. The principal amount of the loan will be reduced to $12,000.00.

     2. The repayment of the loan principal will be reamortized over the remainder of the loan
        term, which is 43 months.

     3. The interest rate of the loan will remain the same, which is 2.99%.



               Boise | Denver | Newport Beach | San Francisco | Geneva | Hong Kong | London | Paris
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M A R S H R O S A LL P
HMF Account No. 20130205619880
18 November 2015
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   4. The monthly payment of the loan will be adjusted in light of the aforementioned
      variables to $294.63 per month.

   5. The account holder and HMF will execute a revision to the promissory note to reflect
      the aforementioned terms.

   6. The account will be restored to good standing and reported to all credit reporting
      agencies as such.

Please communicate your acceptance of these terms in writing no later than Friday, 27
November 2015.


                                  Yours Very Truly,

                                  MARSH ROSA LLP




                                  Angelo L. Rosa, Esq.

ALR/ar
cc:    File
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   COMPLAINT FOR DAMAGES
    AND INJUNCTIVE RELIEF
           EXHIBIT 7
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   COMPLAINT FOR DAMAGES
    AND INJUNCTIVE RELIEF
           EXHIBIT 8
                      Case 1:21-cv-00084-BLW Document 1 Filed 02/19/21 Page 56 of 78
            <8)HYUnDRI
                         FINANCE


             February 19, 2018




            Angelo L Rosa Or Angelo L Rosa Esq

             Boise, Id 83702




             Dear Angelo L Rosa Or Angelo L Rosa Esq,

--   -      -..Mtact.:i.e·d-is-your- check io-the---amou.nt
                                                         ..of:-$229-t6 Ur:ifortunately we were unable...to-pr:ocess..due...to
                                                                                                                            the -        -
              following reason(s) :

                      D Signature is missing
                      D Endorsement is required
                      D Certified funds are required
                      D Check not payable to Hyundai Motor Finance
                     -D Check was damaged by the Post Office
                      D Postdated check               ·
                      D Account Closed / Account Paid Off
                      D Insufficient -information to post this transaction
                      D Please provide us with this information:
                              D Account number : ____________                                          _

                               D Social Security       Number : ____________                               _

                               D VIN    number : _____________                                     _

                      ~ Other: Check is expired- please reissue a new check

             Please send correspondence to the address below . Thank you for the opportunity to Service your account.

     ----    Thank you,___,..,___,   ______
                                         _
             Payment Processing
             Hyundai Motor Finance
                                                                    cror~~?
                                                                        (e,~~\ -



                                                                                              ·,




                    Hyundai Motor Finance   I PO Box 20829 , Fountain Valley , CA 92728-0829 I Ph: 800.523 .6010 I Fax: 714 .965 .3972
             Rejected Check Letter - HMF.1.09-08-06
                                                          'liillfflf 1 'IIUi fl
           Case 1:21-cv-00084-BLW Document 1 Filed 02/19/21 Page 57 of 78                                                                Hasler                   Ft


HYUnDRI
 FINANCE
Hyundai Motor Finance
3161 Michelson Drive, Suite 1900
Irvine, CA 92612
                                               7017
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                                                                            111111
                                                                            1850            5416
                                                                                                                                         02/20/2018
                                                                                                                                         US POSTAGE


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                                                                                   31- 5
               ANGELO L ROSA                                                       1240                                 1105
               ANGELO L ROSA ESQ.
               BOISE, ID 83702                                                   DAT>      ~8 ~ J.oi"1-
             ;~6ig6~'fiYIJJl!JONi;:{).:e~                                          ,,              ¾ ;;l.J."1_'
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   COMPLAINT FOR DAMAGES
    AND INJUNCTIVE RELIEF
           EXHIBIT 9
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 < a ) H Yu n D n i
                       F I N A N C E


 March 22,2018




 ANGELO L ROSA/ANGELO L ROSA ESQ.
 851 W FRONT ST APT 1603
 Boise, ID 83702




 Dear Angelo L Rosa/Angelo L Rosa Esq.;

Attached is your check In the amount of: $229.16. Unfortunately we were unable to process due to the
following reason(s):

             □ Signature is missing
             □ Endorsement is required
             n Certified funds are required
             □ Check not payable to Hyundai Motor Finance
             □ Check was damaged by the Post Office
             □ Postdated check
             n Account Closed / Account Paid Off
                Insufficient information to post this transaction
             □ Please provide us with this information:
                          □ Account number:

                          □ Social Security Number:

                          n VIN number:

             ^ Other: The written line of the check is not legible.
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n e d & e & e i i u C O l t c a p Ly n q t y t l U c . w t u g a u u i m w. m


Thank you,



Payment Processing
Hyundai Motor Finance




          HyundaiMotor Fn
                        i ance 1 PO Box 20829, Fountan
                                                     i Vae
                                                         l y.CA92728-0829 | Ph: 800.523.4030 I Fax: 714.965.0520
 3771.08/06/2009
Case 1:21-cv-00084-BLW Document 1 Filed 02/19/21 Page 60 of 78
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   COMPLAINT FOR DAMAGES
    AND INJUNCTIVE RELIEF
          EXHIBIT 10
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   COMPLAINT FOR DAMAGES
    AND INJUNCTIVE RELIEF
          EXHIBIT 11
Free Credit Score & Free Case
                         Credit Reports With Monitoring | Credit
                                1:21-cv-00084-BLW                ...
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                    Overview                     Recommendations             Cards                        Loans




         Based on Equifax data
         Credit changes                                                                                           Current score 601




            Nov 3                                                                                      No score change



         We found 3 changes to your Equifax credit report.




1 of 8                                                                                                                                :46 PM
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                    Overview                     Recommendations             Cards                        Loans




         We found 9 changes to your Equifax credit report.

           Missed Payments Added

           HYUNDAI MOTOR FINANC                                                           Payment History Changed           -




2 of 8                                                                                                               11/3/20, 12:46 PM
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                 Overview                      Recommendations                    Cards                           Loans




                                       0%                             ››                         0%



             On-time payment percentage as of Sep 14, 2020 On-time payment percentage as of Sep 30, 2020

             It looks like your payment history was updated or corrected. If you're not sure why this happened, you could contact
             your lender to find out more.


             HYUNDAI MOTOR FINANC




         Updated Account Information

         HYUNDAI MOTOR FINANC                                                                 Remarks Added to Account              +




3 of 8                                                                                                                        11/3/20, 12:46 PM
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                    Overview                     Recommendations             Cards                        Loans




         We found no changes to your Equifax credit report.

         We know it can be jarring when scores change but you don’t see why. A few score factors are more
         'invisible' — like an account getting older or a scoring model adjusting its recipe.




         We found 1 change to your Equifax credit report.

         See changes




4 of 8                                                                                                               11/3/20, 12:46 PM
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         We found 4 changes to your Equifax credit report.

         See changes




         We found 9 changes to your Equifax credit report.

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                    Overview                     Recommendations             Cards                        Loans




            Jun 26                                                                                                55 pts
                                                                                                                  to 686


         We found 3 changes to your Equifax credit report.

         See changes




         See changes




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                 Overview                  Recommendations                   Cards                        Loans

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         Help   to
              Center
               top
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         Quick Tips for Your Credit Health
         Free Credit Report
         Free Credit Monitoring
         Free Credit Score
         Credit Scores




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                   Overview                         Recommendations                        Cards                               Loans



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   COMPLAINT FOR DAMAGES
    AND INJUNCTIVE RELIEF
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   COMPLAINT FOR DAMAGES
    AND INJUNCTIVE RELIEF
          EXHIBIT 13
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                   CONFIDENTIAL SETTLEMENT COMMUNICATION

                                          16 October 2020


Hyundai Motor Finance, Inc.
Attn: Legal Department
3161 Michelson Drive Suite 1909
Irvine, California 92612


       Letter transmitted via Facsimile to (714) 965-0520

       Re:     NOTICE OF LITIGATION AND PRE-LITIGATION SETTLEMENT
               DEMAND
               Account No. 20130205619880
               VIN: 5NPEC4AC4DH624101



To Whom it May Concern:

This office represents its general partner, Mr. Angelo L. Rosa (“Mr. Rosa”). Mr. Rosa is a former
borrower of Hyundai Motor Finance, Inc. (“Hyundai”). A complaint has been prepared for filing
in the United States District Court for the Central District of California for breach of contract,
fraud, slander of credit, and multiple violations of the Fair Credit Reporting Act (“FRCA”). The
complaint will be filed on Friday, 23 October 2020 if the resolution proposed below is not reached
and documented in writing by that date.

The facts giving rise to the lawsuit are as follows:

       1.      On or about 3 February 2013, Mr. Rosa purchased a 2003 Hyundai Sonata
       (identifiable by Vehicle Identification Number 5NPEC4AC4DH624101) (the “Vehicle”)
       from Murdock Hyundai Murray, LLC a dealership in Murray, Utah. The Vehicle was
       financed through Hyundai Motor Finance. The account number assigned to the loan was
       20130205619880 (the “Financing”).

       2.     Mr. Rosa had a perfect payment history and performed all loan covenants under the
       Financing.

       3.      In April 2015, the Vehicle was stolen and not recovered until late May 2015.
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               Re:     Notice of Litigation and Pre-Litigation Demand
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       4.      At the time the Vehicle was recovered by law enforcement, Mr. Rosa attempted to
       drive the Vehicle and discovered that the engine had been damaged and required
       replacement. The replacement was overseen by a Murdock Hyundai, the same dealership
       that had sold Mr. Rosa the Vehicle.

       5.     The engine replacement did not resolve the problems with the vehicle and the
       vehicle failed to operate properly.

       6.     While Mr. Rosa brought this matter to Hyundai’s attention, the vehicle sat in an
       unsafe condition.

       7.      On or about 10 December 2015, Hyundai caused the Vehicle to be repossessed and
       sold through foreclosure proceedings, leaving a balance due of $13,051.67 relating to the
       Financing. Subsequently, attempts were made to collect the deficiency.

       8.     Mr. Rosa, being unwilling to devote the time and energy to litigating the matter,
       entered into a settlement agreement on or about 18 May 2017 whereby a compromised
       portion of the deficiency balance would be paid in monthly payments in exchange for a
       removal of the adverse reporting (the “Settlement Agreement”).

       9.      Mr. Rosa made the monthly payments but several were rejected by Hyundai after
       receipt on the grounds that they had been sent to an improper address despite being the
       address that Mr. Rosa was instructed to send the payments to. Consequently, Hyundai
       breached the terms of the Settlement Agreement.

       10.    Since that time, Mr. Rosa’s Financing was reported intermittently as “charged off”
       and then recently changed to “bad debt.”

       11.     This has had a detrimental result on Mr. Rosa’s creditworthiness and been cited as
       the basis for being denied credit on more than one occasion.

Apart from being beyond the scope of collection by virtue of the statute of limitations, there is a
need to resolve this issue. This is the one blight on an otherwise exemplary consumer credit profile
for Mr. Rosa. Accordingly, to repair Mr. Rosa’s credit and to resolve the matter without litigation,
Mr. Rosa proposes the following resolution

       1.     Hyundai will accept the lump sum of five-thousand and no/100 Dollars ($5,000.00)
       as a good faith payment and as consideration for the obligations described below.

       2.       Hyundai will, within five (5) calendar days of receipt of the payment described
       above, delete and/or cause to be deleted, all adverse reporting of any kind relating to the
       Financing with all credit bureaus to which the Loan has been reported. For the sake of
       clarity, this will include all adverse reporting as “bad debt,” “charge off” and/or “settled in
       part/in full.” Instead, Hyundai will either (a) report the obligation as paid in full and in
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        good standing; or (b) eliminate all reporting of the Financing entirety. After the appropriate
        research, we have determined either of these options are within Hyundai’s discretion.

        3.     The Parties will execute a mutual release covering all matters relating to the
        Financing, the Vehicle, the Settlement Agreement and any other relationship between
        Hyundai and Mr. Rosa.

This is a settlement offer intended to facilitate a prompt resolution and shall not constitute an
affirmation of the Financing, Mr. Rosa’s intent to honor that obligation, nor shall it be used (under
Federal Rule of Evidence 408, California Rule of Evidence 1152, and/or any other evidentiary
rule(s) and regulation(s)) as an acknowledgment of liability or affirmation/reaffirmation of any
obligation. Instead, the terms proposed above are intended to provide good faith consideration for
a necessary resolution to Mr. Rosa’s situation and to save Hyundai the time, cost and liability
associated with litigation.

If this matter proceeds to litigation, the damages sought will far exceed the amount of the Financing
given the damages, statutory penalties and contract-based attorney’s fee/cost provisions, will result
in Hyundai recovering nothing relating to the Financing. Moreover, the rejection by Hyundai of
Mr. Rosa’s performance under the Settlement Agreement is attached.

If agreement to the foregoing terms is not received, in writing, by my office by 5:00 p.m.
Mountain Standard Time on Friday, 23 October 2020 (the “Settlement Response Deadline”),
the lawsuit will be filed in the United States District Court having jurisdiction over the
matter.

For the sake of avoiding time consuming and expensive litigation (the cost to each party and the
exposure of liability to Hyundai far outstrips the cost of agreeing to this request), I strongly suggest
that the parties resolve this matter promptly.

I look forward to your prompt response.

                                         Yours Very Truly,

                                         For ROSA PLLC




                                         Angelo L. Rosa, Esq.

cc:     File
